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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

JONATHAN SOLOMON,
                                                       Civil Case No. 22-CV-03137-JEB
                          Plaintiff,

                 -against-

DECHERT LLP, DAVID NEIL GERRARD,
DAVID GRAHAM HUGHES, NICHOLAS DEL
ROSSO, VITAL MANAGEMENT SERVICES,
INC., AMIT FORLIT, ISRAEL INSIGHT
ANALYSIS AND RESEARCH, LLC, SDC-
GADOT LLC, AMIR HANDJANI, ANDREW
FRANK, and KARV COMMUNICATIONS,
INC.,

                             Defendants.


           UNOPPOSED MOTION TO REDISTRIBUTE PAGE LIMITS
   FOR DEFENDANTS’ FORTHCOMING REPLY BRIEFS IN SUPPORT OF THEIR
                       MOTIONS TO DISMISS

       Defendants Dechert LLP, David Neil Gerrard, David Graham Hughes, Nicholas Del

Rosso, Vital Management Services, Inc., Israel Insight Analysis and Research, LLC, SDC-Gadot

LLC, Amir Handjani, Andrew Frank, and KARV Communications, Inc. (collectively, the

“Defendants”) respectfully move the Court to grant the Defendants permission to redistribute the

pages allocated for their forthcoming reply briefs in support of their motions to dismiss the

Complaint into a single, omnibus reply brief (the “Omnibus Reply”) of no more than 40 pages

and up to six individual reply briefs. Prior to filing this Motion, counsel for Defendants

conferred with counsel for Plaintiff, and counsel for Plaintiff consented to the Motion.

       Defendants have respectively filed six motions to dismiss (the “Motions”) the Amended

Complaint. See ECF Nos. 53, 54, 55, 56, 57, and 58. On June 2, 2023, Plaintiff filed a single,

90-page omnibus opposition to the Motions. See ECF No. 65. Pursuant to Local Rule 7(e), each
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Defendant would be permitted to file a reply memorandum of up to 25 pages in length in support

of their respective Motion, for a total of 150 pages. In the interest of efficiency, the Defendants

seek to argue certain points collectively in a single Omnibus Reply of no more than 40 pages,

and, if they so choose, to address certain individual issues separately, which we expect will result

in the filing of fewer total pages. To that end, and with the consent of Plaintiff’s counsel,

Defendants respectfully request that the Court issue the attached proposed order granting

Defendants permission to allocate their total allotment of 150 pages to include an omnibus reply

brief of no more than 40 pages.



Dated: New York, New York                            Respectfully submitted,
       July 7, 2023
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